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UNITED STATES DISTRICT COURT                        cocu
SOUTHERN DISTRICT OF NEW YORK
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PHYTO TECH CORP.,

                       Plaintiff,                 19cv9033 (JGK)

            - against -                           ORDER

GIVAUDAN SA,

                       Defendant.

JOHN G. KOELTL, District Judge:

     For the reasons stated on the record at the hearing on

January 28, 2020, the plaintiff's motion to dismiss the

defendant's counterclaim is denied. The Clerk is directed to

close Docket Nos. 24 and 27.

SO ORDERED.

Dated:      New York, New Y o r k ~
            January 28, 2020
                                             CJ~()
                                              Ut  ~
                                                          ~
                                                John G. Koeltl
                                         United States District Judge
